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                          UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO



 UNITED STATES OF AMERICA,                  )
                                            )
                 Plaintiff,                 )        Case No. 1:15-CR-167-BLW
                                            )
 vs.                                        )        ORDER FOR RETURN OF
                                            )        PASSPORT
 ELIZABETH BAEZA,                           )
                                            )
             Defendant.                     )
 _______________________________            )

         The Court has before it Defendant’s Motion for Return of Passport. Said motion is

unopposed.

         NOW THEREFORE IT IS HEREBY ORDERED, that the motion to return

passport (docket no. 164) is GRANTED.

         IT IS FURTHER ORDERED, that the United States Probation Office shall return

Ms. Baeza’s passport to her father Juan Baeza. Said passport may be released to Ms.

Baeza’s counsel, Andrew Parnes, or mailed to Juan Baeza, P.O. Box 2922, Ketchum, ID

83340.

                                   DATED: June 1, 2016


                                   _________________________
                                   B. Lynn Winmill
                                   Chief Judge
                                   United States District Court
